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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                              Chapter 11
    In re:
                                                              Case No. 24-12480 (LSS)
                                           1
    FRANCHISE GROUP, INC., et al.
                                                              (Jointly Administered)
                              Debtors.
                                                              Ref. Docket No. 1269 & 1361



         AD HOC GROUP OF FIRST LIEN LENDERS’ JOINDER TO DEBTORS’
      OBJECTION TO MOTION OF GRANITE TELECOMMUNICATIONS, LLC FOR
        ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM

             The Ad Hoc Group of First Lien Lenders (the “First Lien Group”), by and through its

undersigned counsel, hereby file this joinder (this “Joinder”) to the Debtors’ Objection to Motion

of Granite Telecommunications, LLC for Allowance and Payment of Administrative Expense

Claim [Docket No. 1361] (the “Debtors’ Objection”) to the Motion of Granite

Telecommunications, LLC for Allowance and Payment of Administrative Expense Claim [Docket



1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom
VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.



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No. 1269] (the “Payment Motion”) 2 filed by or on behalf of Granite Telecommunications, LLC,

and respectfully states as follows:

                                                 JOINDER

         1.       The First Lien Group hereby joins in the Debtors’ Objection and incorporates by

reference in full the arguments set forth in the Debtors’ Objection as if fully set forth herein.

         2.       The First Lien Group reserves the right to supplement and amend this Joinder, to

seek discovery with respect to the same, and to introduce evidence at any hearing relating to the

Payment Motion, and expressly reserves all rights under applicable law and otherwise.

         3.       Nothing contained herein shall constitute a waiver of any rights or remedies of the

First Lien Group, including, without limitation, the right to: (i) amend, modify, or supplement this

Joinder; or (ii) raise any other additional arguments at a later date, including at the hearing on the

Payment Motion.

         WHEREFORE the First Lien Group respectfully requests that this Court deny the

Payment Motion in its entirety, and grant such other and further relief as the Court finds just and

appropriate.

                             [Remainder of Page Intentionally Left Blank]




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Debtors’
Objection or the Payment Motion, as applicable.



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 Dated: April 29, 2025                         Respectfully submitted,
        Wilmington, Delaware
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{1467.001-W0081270.}
